      USDC IN/ND case 2:09-cr-00043-TLS-PRC                              document 410        filed 01/24/12          page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Northern District
                                                   __________  District of
                                                                        of __________
                                                                           Indiana

                 HANEEF JACKSON-BEY                                  )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:11 CV 307 arising from 209cr43
             UNITED STATES OF AMERICA                                )
                            Defendant                                )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

u the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
u              The section 2255 motion is DENIED. This case is DISMISSED WITH PREJUDICE.

                                                                                                                                     .

This action was (check one):

u tried by a jury with Judge                                                                          presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge Rudy Lozano                                                                 on a motion for
      Vacate under 28 U.S.C. 2255
                                                                                                                                     .

Date: 1/24/2012                                                             CLERK OF COURT


                                                                             /s/ Kim Pastrick
                                                                                          Signature of Clerk or Deputy Clerk
